
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a0819-15.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a0519-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0811-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0812-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0219-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0814-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0879-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0817-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0859-15.pdf (mistyped character)


IBM_HTTP_Server at www.judiciary.state.nj.us Port 443
